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Jaoksonvil|e l-iousing Authority
1300 Norih Broad St
Jaol<sonvi|le, FL 32202

Octot;~er 06, 2015

 

Senior Citizen Vi|lage Assoo., LTD
3 East Stow Rd Ste 100, PO Bo>< 994

Marltoo NJ 08053~0994

Dear Senior Citizen Vi!lage Assoc=, LTD

The HOUSING CONTRACT entered into between the Owner, Senior Citizen Vi|lage Assoc., i_TD, and the PHA, Jaci<sonville
HOUSing AUthOri'Ey dated 10/05/2015, On behalf of the LESSEE ('FAMILY'), HARRY WILSON, Who holds HOUSING "~JOUCHER
NO. t0040709 for t'ne following described unit 801 W 4TH ST 1102 JACKSONVILLE, FL 32209 is amended as follows:

T e r son for this change is due to:
Initial Payrnent Notice
,»’ \ Review of family income andfor compositionl

[| 'REExAMINATIoN
Annual Review of family income and;or con"ipositionl (Piease provide a copy of the new lease. )

g INTERIM ADJUSTMENT
Interim change in family income andfor composition

§ RENT AoJusTMENT
The ownerjagent request for a rent adjustment

 

 

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CHANGE
Adjustment in Payment From E
HAP Payment $ 0 $ - 378 __
Tenant Rent $ 0 $ r" 210 `
Tota| Rent to Owner $ 0 . $ 588
URP $ 0 $ 0

Monthy utility reimbursements if any, are paid by Citi debit card.

Effective Date

This change to the Housing Contract and i_ease egreemen't will be effective 10;'05/2015. 'i"ne next reexamination is due on
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This change is presented to you in accordance with the terms and conditions of the Housing Contract and/or Lease Agreement
and §Fia|l be attached to and made a part of your Housing Contract and/br Lease Agreement ,»»Al| other covenants terms and

conditions of the original Housing Contract and/or Lease Agreernent remain the same. if \
- 1

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904-630-3841

Copy to : HARRY WILSON

801W 4TH ST 1102
JACKSONV!L E FL 32209

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SOCIAL SECURITY ADMINISTRATION

Date: April ll, 2017
Claim Number: XXX-XX-lOB€A
XXX-XX~lOBSDI

HARRY L WILSON
PO BOX 43431
JACKSONVILLE FL 32203~3431

You asked us for information from your record. The information that you_
requested is shown below. If you want anyone else to have this information, You
may send them this letter.

Information About Current Social Security Benefits

Beginning December 2016, the full monthly
Social Security benefit before any deductions is ...... $ 1023.80

We deduct $O.GO for medical insurance premiums each month.

The regular monthly Social Security payment is ........ $ 1023.00
(we must round down to the whole dollar.}

Social Security benefits for a given month are paid the following month. (For
example, Social Security benefits for March are paid in April.)

Your Social Security benefits are paid on or about the third of each month.

Information About Supplemental Security Income Payments

Beginning July 1998, the current
Supplemental Security Income payment is ............... $ 0.00

This payment amount may change from month to month if income Or
living situation changes.

Supplemental Security Income Payments are paid the month they are due. (For
example, Supplemental Security Income Payments for March are paid in Maroh.)

Payments were stopped beginning January 1999.

Date of Birth Information1

The date of birth shown on our records is December 19, 1952.

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MUNICIPAL CODE COMPLIANCE DIVISION

W'here florida Begins.
Case Recap - Case # 2016-143404 - Case Status: Complete Prlnted; 05)19!2016 ac1o:39.3s

Complaint #: 2016-143404 Source: Citizen
CARE Status: Active

Description: Environmenta| Quality issue:

Complex Name & Bui|ding Number:

HUD:

Residence type:

Customer states that there is an issue with the water heater. Approximate|y three months agc, JFRD responded and turned off the
unit; the unit has not been turned back on since. Management has been notified several times, but no response Please contact
Mr. Wiison @ 904-203-069| or 904-237-3954 for appointm

 

OCCUPANTILOCATION... PROPERTY OWNER... OR]GINAL COMpLAlNANT
House #: 801
Street Name: W 4TH ST 133 §;T§X“;;D SUITE 100
Unit: l 102 MARI..TON, N108053
LOT!BLOCK!SUBD|V:
R:'E NUMBER: 054357 0000
DlSTRICT: ? ZONING:
BOOK/PAGE!MAP:
LEGAL DESCRIPTION: AJ-?66 ll-ZS-26E 8_973 BURBRlDGES ADDN TO JAX N I/‘Z LOT 3,LOTS 4 TO 13 BLO
Violation §ummg[!
Compliec[ wagon My_ D_€L`Mm Inspector §§M
05!09!2016 Closet Repair or Repiace Water heater is in poor working Maria Powers 518.412(b)(f).
condition or has inadequate capacity for .42 i(f]
demand.

 

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Casc Recap for Case # 2016-1434[}4 - Page l 0f3

NF.IGI-{l`i()Rl-IOODS I)EPARTM`ENT
214 N. l-icgan Sl. istFrocr | Jacksonvi|!e. FL 32202 1 Phone'. 904.255.7000 | Fax:904_588.0510 www.cci.net

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Jac-ksonville 'Eye Center
2001 College St:reet
Jacksonville, Florida 32204

PAGE 2

Ir1 signing this l am not relieving HLM£FML% M. D., his assistants, and staff from exercising
` due care and diligence m my behalf ut I am acknowledging that there are some potential risks involved m my

surgical procedure which l accept in the hope of gaining better vision

l I wish to have a cataract extractio %
DATEMFHM Mpg_…)SIGNE

WITNES_{SED

 

Sur'gical/oordinator f Jacksonville Eye Center Statl`

H-w“ishW:-;::;Without an artificial lens
DATE ////
Surgical- Coordinator f Jacksonville ye ff

    
  
    

 

 

3.. l wish to have no procedure o

DATE ` sIGNED

 

\

D
Surgical Coordinator/ Jacl<sonville Eye Center Staft`\

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ME SPECIFIC RISKS OF CATARA T R ERY

Although cataract surgery is, in general, a safe operation that results in the restoration of vision for the vast
majority of patients, there are some potential risks that yo`u should be aware of.

Hemorrhage

Infection

Corneal disease

Retinal disease

Glaucoina

Loss of sight of the eye (total blindness)
Death from injection of anesthetic

seweww~

Although development of any of the above conditions is rare, they may only be correctable with further
surgeries.

Please take time to read over this consent A copy is being sent home with you at this time for that purpose If

there are any questions, make sure they are answered to your satisfacti n bef e proceeding with any surgery
__ / 32 >, .-_» >(% /{ W

/ 7* PATIENT sIGN

1Ac§@§t)i€rliiri‘l;%@EYE*MKERQQWQ@ULFEGW§/r§e§rE’il@lt‘:l<%?§i%ivfee%?r~"§ 32204
;'904)355_5555 _

Dear: steam wie'§©"l

‘l`lie following is your surgery schedule
Be at Dr. Schnipper’s Ofl`ice for pre-surgical testing on: _."'mtl_Q§/'l . /l-flf'\rc/ /M @5$5_

(***CON'I`ACT LENS WEARERS*** Contacts must remain out for 5 DAYS prior to your pre-surgical testing.‘)
**You Will be charged $lS,UU for your Cataract Kit at your testing appointment, this is not covered by your insurance**

Be at ijerside Park Surgicenter for Surgery (2“d floor) on: 77-
The Surgicenter will call and inform you of your Surgery Tirne.

Cio to Dr. Schnipper’s Off"lce for your one day post-op check-up on: jj §§ .* L§*l

*You Will be given the appointment time day of sit geiy
Go to yotu‘ Fann`ly Doctor for a physical exam (only ifyou have been instructed to do so) Prior to
your pre-surgical testing appointment date.

"‘ *Pre- Op INSTRUCTIONS:

NOTHING 'I`O EAT OR DRINK AFTER MIGHNIGHT PRIOR TO YOUR SURGERY
A nurse from the Sureicenter will call you the day before surgery with further instructions

"‘NO lllAKE-UP, ESPECIALLY l\/L)¢XSC!~‘s.RJ-"i7 EYEL]N'ER OR EYESHADOW FOR 4 DAYS PRIOR TO
SURGERY AND l WEEK AFTER SURG'ERY_
*NO PERFUI\CE, COLOGNE OR AFTERSHAVE THE DAY OF SURGERY.
*NO MAKE-UP OR LOTIONS ON 'IHE DAY OF SURGEY
* USE THE EYEDROPS AS D[RECTED PRIOR TO YOUR SURGERY_

**YOU I\IUST HAVE SOI\C[EONE DRIVE Y`OU HOl\C[E- ON T_HE DAY OF SURGERY AND TO
DRIV`E YOU TO YOUR l DAY POST OP VISIT THE NEXT MORN[NG
"‘Plan on spending approximately 2-2 1!2 Hours with us on the day of your procedure

Pavment information.'
Please make sure all financial matters have been taken care of prior to your stu`gery date

_=\-lake sure all insurance information is current and has been given to our oEt`lce so that we may file your claim
Pleasc be a\i»are that fees for the surgery facility and for the anesthesiologist are separate from your surgeon’s fee, will be billed

separately and are your responsibility

A-'ledicare Benefits;

‘~-’v‘e accept assignment on all charges and Ele your claim with Medicare, By accepting assignment we agree to reduce our charge the
"Reasonable and Custoinary’ allowance approved by Medicare_ Medicare pays SO% of all coveer Olll“liilliem SWEEVY Char§@- We
will be happy to Hle your supplemental insurance for the remaining 20%_

l rank you for choosing JA CKSONV]LLE EYE CENTER AND DR. SCRN]PPE-R for your surgical needsl_='

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Case 3:18-c\/-00285-HLA-.]RK Document 1 Filed 02/26/18 Page 20 of an@@h
RIVERSIDE PARK SURGI.CENTER

JACKSONVILLE EYE CENTER
DR. RO.BER'I` SCHNIPPER
2001 COLLEGE STREE'I`
JACKSONVILLE, FLORIDA 32204
904~355-5555

POST OPERATIVE INSTRUCTIONS

§*********P*********k********k****k*********k**********k*************

Leave the patch and shield in place.
lt will be removed in the office tomorrow

'*******************kk***%***kkkk*****k****k*************************

' Yol! may take Tylenol or Extra-Strength Tylenol as directed for pain, if needed.

If you have any questions or any unusual problems after your surgery, please
feel free to call the 0fi`1ce. This includes pain not relieved with Tylenol or any
nausea and vomiting

kw&*****************k*********k************kw**P***§**§*****§*******

YOUR POST OPERATIVE VISIT IS SCHEDULED FOR

. ¢’¢:,
DATE= 5 pizza _ TIM;E= S"'"" Q_m

; ALWAYS BRING YOUR EYE MEDICATIONS WITH YoU
To run noCTOR’s 0FFICE.

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Case 3:18-cv-OO285-HLA-.]RK Document 1 Filed 02/26/18 Page 21 of 21 Page|D 21
BR|NG TH|S FOR|Vl WITH YOU ON THE DAY OF SURGERY

This information will be reviewed with you by the anesthesiologist
:/ '/’» 1 ,
Patient Name: %Fv€)` /-' h * /5 °/'/ Date: 5’ 3 1715/5
DOB: /'.»L "/c?" /7 591 Height:' § 7 Weight: /Z#/O MF

 

M__ED|CATIONS ALLERG|ES AND SENSIT|V|TIES

Please complete all information requested, You may attach a medication list if availab|e.

This ls a copy of your routine medication list which you have provided and
you acknowledge as being correct. Please resume your current routine
medications If you have questions regarding a_y of your medications,
please call your primary care provider.

Begin using your eye drops today as directed by your Surgeon.
(see your Post-Op Instruction Sheet).

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_ ....L_... . .. , ._ .._.._.._-. _ ..\- ,..._,._ .._ a

 

 

 

 

N|edication Name Dosage Frequency Reason of taking
{RX, Herba|, Vitamin} {mg} {Daily, Twice a Day, Other} {Diabetes, Headache, etc]
/ d xi 5

 

 

 

 

 

 

 

 

 

 

Wilson, Harry

 

 

Dr. Schnipper
DOB: 12-19-52 DOS: 05-03-16

 

 

 

 

Patient' s Slgnature: % /Z M_` Date: 5“" 3" 335/5

Patient’s Signature: Date:

73?* }0.

 

